
699 N.W.2d 301 (2005)
Donoho
v.
Wal-Mart Stores, Inc.
No. 127537.
Supreme Court of Michigan.
July 1, 2005.
SC: 127537, COA: 256525.
On order of the Court, the application for leave to appeal the October 29, 2004 order of the Court of Appeals is considered and, pursuant to MCR 7.302(G)(1), we direct the Clerk to schedule oral argument on whether to grant the application or take other peremptory action permitted by MCR 7.302(G)(1). The parties shall include among the issues to be addressed at oral argument the correct interpretation of MCL 418.315(1). The parties may file supplemental briefs within 28 days of the date of this order, but they should avoid submitting mere restatement of arguments made in application papers.
